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                        9
                               Attorneys for Tecumseh–Infinity Medical
                      10       Receivable Fund, LP

                      11                         IN THE UNITED STATES BANKRUPTCY COURT
                                                       FOR THE DISTRICT OF NEVADA
                      12
                               In re:                                       Case No. 21-14486-abl
                      13
                               INFINITY CAPITAL MANAGEMENT,                 Chapter 7
                      14       INC. dba INFINITY HEALTH
                               CONNECTIONS,
                      15
                                                    Debtor.
                      16       HASELECT-MEDICAL RECEIVABLES                 Adversary Case No. 21-01167-abl
                               LITIGATION FINANCE FUND
                      17       INTERNATIONAL SP,
                      18                            Plaintiff,              OPPOSITION TO MOTION FOR
                      19       v.                                           PARTIAL SUMMARY JUDGMENT AS
                                                                            TO CERTAIN DISPUTED
                      20       TECUMSEH–INFINITY MEDICAL                    RECEIVABLES
                               RECEIVABLES FUND, LP,
                      21                            Defendant.
                      22       TECUMSEH–INFINITY MEDICAL
                               RECEIVABLES FUND, LP,
                      23
                                                    Counter-Claimant,
                      24                                                    Date:   May 26, 2022
                               v.
                                                                            Time:   9:30 a.m.
                      25       HASELECT-MEDICAL RECEIVABLES
                               LITIGATION FINANCE FUND
                      26
                               INTERNATIONAL SP; ROBERT E.
                      27       ATKINSON, CHAPTER 7 TRUSTEE,

                      28                            Counter-Defendants.
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                        1         ROBERT E. ATKINSON, CHAPTER 7
                                  TRUSTEE,
                        2
                                                         Counter-Claimant,
                        3         v.
                        4         TECUMSEH–INFINITY MEDICAL
                                  RECEIVABLES FUND, LP,
                        5
                                                         Counter-Defendant.
                        6

                        7              Defendant and Counter-claimant Tecumseh–Infinity Medical Receivable Fund, LP
                        8     (“Tecumseh”) respectfully submits this opposition (the “Opposition”) to the Motion for Partial
                        9     Summary Judgment as to Certain Disputed Receivables [ECF No. 53] (the “Motion”) filed by
                      10      Plaintiff HASelect-Medical Receivables Litigation Finance Fund International LP (“HASelect”).
                      11               This Opposition is made and based on the following memorandum of points and
                      12      authorities, the declarations of Michael Belotz (the “Belotz Declaration”) and Gabrielle A.
                      13      Hamm (the “Hamm Declaration”) and the Statement of Disputed Facts in Support of
                      14      Opposition to Motion for Partial Summary Judgment as to Certain Disputed Receivables (the
                      15      “Disputed Facts”), filed contemporaneously herewith, the papers and pleadings on file herein,
                      16      judicial notice of which is hereby respectfully requested, and the argument of counsel entertained
                      17      by the Court at the time of the hearing on the Motion.
                      18                                                I. INTRODUCTION
                      19               HASelect moves for summary judgment arguing that a subset of the receivables claimed
                      20      by Tecumseh (the “Disputed Receivables”)1 were previously owned by the Debtor before being
                      21      sold to Tecumseh. Accordingly, argues HASelect, Tecumseh acquired the Disputed Receivables
                      22      subject to HASelect’s prior lien. HASelect’s Motion turns on a material and disputed question of
                      23      fact: Did the Debtor purchase and then resell the Disputed Receivables, or did the Debtor acquire
                      24      the Disputed Receivables on Tecumseh’s behalf and for its benefit? If the former, HASelect’s
                      25      lien attached to the Disputed Receivables. If the latter, the Debtor held the Disputed Receivables
                      26      in a purchase money resulting trust precluding the attachment of HASelect’s lien.
                      27
                              1
                               The “Disputed Receivables” are identified in Exhibits B through K and M to the Belotz Declaration. Belotz Decl. at
                      28      ¶¶ 12, 13, 19.
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                        1              HASelect’s evidence fails to resolve this issue as a matter of law. The requirements of the

                        2     Sub-Advisory Agreement, the testimony of Oliver Hemmers, the testimony of Michael Belotz,

                        3     and the contemporaneous records of the acquisition of the Disputed Receivables create a fact

                        4     issue at the very least. In addition, there is some evidence that HASelect consented to the sale of

                        5     some of the Disputed Receivables.

                        6              Moreover, HASelect’s motion is premature. Discovery has barely begun. Tecumseh only

                        7     recently responded to HASelect’s written discovery and HASelect has not responded to

                        8     Tecumseh’s written discovery. The parties have yet to obtain all of the Debtor’s records –

                        9     particularly the e-mail correspondence of the Debtor’s principals. No depositions have been

                      10      taken.2 Due to the lack of discovery to date, the parties have not and cannot present sufficient

                      11      evidence for the Court to determine the exact dates of transactions or whether HASelect

                      12      acquiesced in sales of the Disputed Receivables to Tecumseh.

                      13               The Court should therefore deny HASelect’s motion.

                      14                                            II. RELEVANT FACTS

                      15               1.      In June 2020, Tecumseh retained the Debtor as a sub-advisor to assist it in

                      16      acquiring and managing a portfolio of medical litigation receivables. The Debtor was to act as

                      17      finder, broker and manager of Tecumseh’s receivables. It was not to acquire and did not acquire

                      18      an ownership interest in the receivables it located and managed for Tecumseh. As such,

                      19      Tecumseh’s receivables are not subject to HASelect’s lien.

                      20               2.      Prior to the bankruptcy, Tecumseh acquired about 8,670 receivables with a face

                      21      value of $28,045,874. See Belotz Decl. at ¶ 9. The receivables that Tecumseh acquired represent

                      22      a three-way transaction between Tecumseh, a medical provider and a personal injury plaintiff.

                      23      Tecumseh agreed to pay the medical provider a certain sum of money in exchange for the

                      24      provider providing medical services to the plaintiff. The plaintiff in turn agreed to pay Tecumseh

                      25

                      26

                      27      2
                                Oliver Hemmers and Anne Pantelas, the Debtor’s principals, testified in a Rule 2004 examination in the main
                              bankruptcy. HASelect’s counsel objected to questioning of Hemmers related to this adversary proceeding. Hemmers
                      28      Trans. at 169:9-170:22.
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                        1     a larger amount of money (represented by the face amount of the receivable) secured by an

                        2     interest in the plaintiff’s claim. Id.

                        3                3.       HASelect’s motion is directed to the Disputed Receivables – a specific subset of

                        4     2,833 receivables with a face value approximately $6.1 million – acquired by Tecumseh at the

                        5     beginning of its relationship with the Debtor. As with its remaining receivables, Tecumseh

                        6     purchased these receivables directly from the medical providers using the Debtor as a broker and

                        7     manager. See Belotz Decl. at ¶ 7.

                        8     A.         The Debtor acted as a broker and servicer for Tecumseh

                        9                4.       The relationship between Tecumseh and the Debtor was governed by a June 2020

                      10      Sub-Advisory Agreement,3 which generally provided that the Debtor would (i) assist Tecumseh

                      11      is purchasing medical receivables “directly from the Medical Service Provider” and (ii) service

                      12      and collect any receivables that Tecumseh might acquire. See Sub-Advisory Agreement at Exh.

                      13      A, ¶ 3(b), (e); Belotz Decl. at ¶ 7 (“The purpose of the Sub-Advisory Agreement was to facilitate

                      14      the sale of receivables from medical providers to Tecumseh and to provide for servicing of the

                      15      receivables by the Debtor.”).

                      16                 5.       To that end, the Sub-Advisory Agreement called for the Debtor to identify

                      17      receivables for Tecumseh to purchase and to negotiate a purchase price on Tecumseh’s behalf.

                      18      Sub-Advisory Agreement at ¶¶ 1(b), 3(a), 3(b). The Debtor was also to arrange all of the

                      19      paperwork necessary to “evidence the sale of the Receivable to [Tecumseh] by the Medical

                      20      Service Provider.” Id. at ¶ 3(d). The Sub-Advisory Agreement provided no mechanism by which

                      21      the Debtor would sell receivables that it owned to Tecumseh.

                      22                 6.       The Debtor was not buying receivables and reselling them to Tecumseh. See

                      23      Excerpts of Transcript of 2004 Examination of Oliver Hemmers, Volume II (Nov. 18, 2021)

                      24      (“Hemmers Trans.”) at 186:9-11.4 The Debtor was merely an intermediary and servicer for

                      25      Tecumseh. See Belotz Decl. at ¶ 7. As such, the Debtor was not to acquire an interest in the

                      26      receivables purchased on Tecumseh’s behalf or to be part of the chain of title. See id.; Hemmers

                      27      3
                                  Disputed Facts, Exhibit A.
                      28      4
                                  Disputed Facts, Exhibit N.
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                        1     Trans. at 186:3-8. Because the Debtor was not reselling receivables to Tecumseh, the Debtor had

                        2     no opportunity to profit on the receivables Tecumseh purchased. Thus, Tecumseh agreed to pay

                        3     the Debtor a fee as compensation for identifying receivables, negotiating a purchase price,

                        4     processing the sale, and servicing the receivables. See Belotz Decl. at ¶ 8.

                        5              7.    In practice, the Debtor acquired no interest in the receivables; it merely serviced

                        6     them. See Hemmers Trans. at 186:12-17. The funds to purchase the receivables came from

                        7     Tecumseh not the Debtor. Id. at 185:21-186:2. All dollars collected on the receivables were paid

                        8     directly to Tecumseh as the money belonged to Tecumseh and not to the Debtor. Id. at 186:18-

                        9     23. Hemmers, one of the Debtor’s principals, testified that the Debtor did not own an interest in

                      10      any of the receivables acquired by Tecumseh. Id. at 173:18-174:14, 174:15-175:3.

                      11      B.       The Debtor acted as an agent in Tecumseh’s purchases; not as a principal

                      12               8.    The process for purchasing a receivable began with the Debtor identifying a

                      13      receivable, negotiating with the medical provider, and presenting the receivable to Tecumseh.

                      14      See Belotz Decl. at ¶ 10. FTM Investments, Inc. (“FTM”) would then verify the receivable on

                      15      behalf of Tecumseh, after which Tecumseh would approve of the purchase. Id. Tecumseh then

                      16      paid the price agreed to by the medical provider along with the fee required by the Sub-Advisory

                      17      Agreement. Id. The payments were made in two primary ways: (1) payments directly from

                      18      Tecumseh’s BofA Account (defined below) to the medical providers and (2) payments to the

                      19      Debtor to fund the purchases of receivables on Tecumseh’s behalf. Id.

                      20               9.    To facilitate the purchase of receivables and collection of proceeds, Tecumseh

                      21      ultimately opened an account with Bank of America (the “BofA Account”) that was funded by

                      22      Tecumseh and granted signing authority to Hemmers and Anne Pantelas (along with Belotz and

                      23      another Tecumseh principal, Chad Meyer). See Belotz Decl. at ¶ 12. However, the BofA

                      24      Account was not opened until October of 2020 because of difficulties encountered in setting up

                      25      an account with multiple authorized signatories and because of the almost insurmountable

                      26      challenge of in-person banking in the midst of the COVID-19 pandemic. Id. Therefore, from

                      27      approximately July through October 2020, Tecumseh transferred funds to the Debtor to purchase

                      28      the receivables on Tecumseh’s behalf. Id. Of the approximately 8,670 receivables purchased,
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                        1     only 2,833 with a face value of approximately $6.1 million involved a transfer of funds to the

                        2     Debtor. These are the Disputed Receivables. Id.

                        3              10.     With respect to the Disputed Receivables, the Debtor periodically (roughly, every

                        4     two weeks) provided Tecumseh with a list of receivables from various medical providers that the

                        5     Debtor recommended that Tecumseh purchase. From July 13, 2020 through October 29, 2020,

                        6     the Debtor sent twelve such lists. See Belotz Decl. at ¶ 13 and Exhibits B – K to the Disputed

                        7     Facts. Each list identified a set of receivables that the Debtor planned to purchase on Tecumseh’s

                        8     behalf. For each receivable, the Debtor provided the patient’s name, the patient’s lawyer’s name,

                        9     the provider, a unique Bill ID number, the face amount, the estimated purchase price and an

                      10      estimated total cost including the Debtor’s fee. See Belotz Decl. at ¶ 14.

                      11               11.     The lists also included a “Date Paid” column. The “Date Paid” column was often

                      12      blank, sometimes contained dates that were months after the date of the list, and sometimes

                      13      contained dates prior to the date of the list. See id. The “Date Paid” was taken from the Debtor’s

                      14      internal database of receivables and reflected the date that the Debtor reached an agreement with

                      15      the provider as to the price of the receivable. Blank dates and November dates were

                      16      placeholders. The “Date Paid” column did not reflect the date that the Debtor had paid for the

                      17      particular receivables.5 Id.

                      18               12.     Once Tecumseh approved a list, the Debtor generated a purchase order which

                      19      Tecumseh paid. The Debtor then used the money to purchase receivables on Tecumseh’s behalf.6

                      20      See Belotz Decl. at ¶ 15. On occasion, the Debtor underestimated how much the receivables

                      21      would cost. When that occurred, the Debtor requested and Tecumseh provided additional funds

                      22      enabling the Debtor to complete the acquisition of the listed receivables on Tecumseh’s behalf.

                      23

                      24      5
                                 Part of Belotz’s duties were to reconcile the Debtor’s records with Tecumseh’s records. As part of his
                              reconciliation, Belotz noted that the Debtor’s data frequently changed and was often inconsistent. The “Date Paid”
                      25      field was particularly problematic. The Debtor would quite often leave that field blank for months. Even after the
                              Debtor populated the date field, the dates changed frequently. See Belotz Decl. at ¶ 22. Thus, the “Date Paid” field
                      26      (or “PaidDate” field in the master lists of Disputed Receivables) is not a reliable indicator of when the Disputed
                              Receivables were purchased. See id. at ¶¶ 23-24.
                      27      6
                                The Debtor used its own funds to acquire receivables on only one occasion (July 27, 2020), as indicated on Exhibit
                              C to the Disputed Facts, in which BillID 23043 notes that “Infinity has already paid - no balance amount on the
                      28      invoice it says zero.” See Belotz Decl. at ¶ 18.
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                        1     See id. at ¶ 16 (noting that Oliver Hemmers would typically call him to request additional funds

                        2     when the Debtor underestimated the cost of receivables it planned to acquire on Tecumseh’s

                        3     behalf).7 On other occasions, the Debtor was unable to acquire certain receivables that it had

                        4     planned to acquire for Tecumseh. When this occurred, the Debtor would indicate that it had

                        5     cancelled those receivables. See id. at ¶ 17.

                        6              13.     The remaining receivables purchased by Tecumseh from and after October 29,

                        7     2020—4,190 receivables at a face amount of approximately $19,846,621.37—were paid for with

                        8     transfers directly from Tecumseh’s BofA Account to the medical providers. These receivables

                        9     are not at issue in HASelect’s Motion. See Belotz Decl. at ¶ 20.

                      10               14.     Once the BofA Account was opened, the transactions followed the same process

                      11      except that, upon Tecumseh’s approval of the purchase of a receivable, Hemmers or Pantelas

                      12      would send the funds for the purchase directly from Tecumseh’s BofA Account to the medical

                      13      provider. Further, rather than purchasing groups of receivables every two weeks or so, Tecumseh

                      14      purchased receivables throughout the month, and Tecumseh paid the Debtor its servicing fee for

                      15      its work in locating and servicing the receivables monthly from the BofA Account. See id. at

                      16      ¶ 21.

                      17               15.     While funds may have flowed from Tecumseh through the Debtor to the medical

                      18      providers, the Debtor never acquired an interest in the Disputed Receivables. See Hemmers

                      19      Trans. at 186:12-17. As such, the Disputed Receivables never became the property of the Debtor

                      20      and HASelect’s lien never attached.

                      21                                          III. LEGAL ARGUMENT

                      22      A.       Legal Standard.

                      23               Rule 56, made applicable through Bankruptcy Rule 7056, provides that “[the court shall

                      24      grant summary judgment if the movant shows that there is no genuine dispute as to any material

                      25      fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A

                      26      “material” fact is one that is relevant to an element of a claim or defense and whose existence

                      27
                              7
                                Attached to the Disputed Facts as Exhibit L is a June 25, 2020 email representing an occasion when Hemmers
                      28      contacted Belotz to request additional funds with which to complete a planned purchase. See Belotz Decl., ¶ 16.
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                        1     might affect the outcome of the suit. T.W. Elec. Serv., Inc. v. P. Elec. Contractors Ass'n, 809

                        2     F.2d 626, 630 (9th Cir. 1987) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.

                        3     Ct. 2505, 2510, 91 L. Ed. 2d 202 (1986)). The materiality of a fact is thus determined by the

                        4     substantive law governing the claim or defense. Id.

                        5                Where material facts are disputed, “[t]he evidence of the non-movant is to be believed,

                        6     and all justifiable inferences are to be drawn in his favor.” Anderson, 477 U.S. at 255, 106 S. Ct.

                        7     at 2513. “If reasonable minds could differ as to the import of the evidence,” summary judgment

                        8     must be denied. Id. at 250-51.

                        9     B.         The Court should first address the issue of subject-matter jurisdiction.

                      10                 Tecumseh’s pending Motion to Dismiss all Claims for Lack of Subject Matter

                      11      Jurisdiction [ECF No. 59] (the “Motion to Dismiss”), seeks dismissal of HASelect’s claims on

                      12      the basis that this Court lacks subject matter jurisdiction to hear such claims.8 And a court must

                      13      have subject matter jurisdiction to enter a valid, enforceable judgment on a claim. Lujan v.

                      14      Defenders of Wildlife, 504 U.S. 555, 560-61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992) (“To hear

                      15      a case, a federal court must have subject matter jurisdiction over the matter at hand.”). This

                      16      Court must therefore dispose first of Tecumseh’s pending Motion to Dismiss, before considering

                      17      HASelect’s Motion for Summary Judgment (if necessary).

                      18                 HASelect asserts claims for declaratory relief based on state law, conversion, unjust

                      19      enrichment, and related equitable relief. As set forth in the Motion to Dismiss, none are claims

                      20      “arising under” the Bankruptcy Code because they are not created or determined by the

                      21      Bankruptcy Code, nor does their existence depend on a substantive provision of bankruptcy law.

                      22      Similarly, HASelect’s claims do not “arise in” a case under the Bankruptcy Code because they

                      23      exist independent of the Debtor’s bankruptcy case. HASelect’s alleged claims also fail to meet

                      24      the “related to” standard for jurisdiction. HASelect’s alleged claims solely concern two non-

                      25      debtors’ respective rights, title, interests, and encumbrances in two sub-sets of receivables,

                      26      neither of which are property of the bankruptcy estate.

                      27

                      28      8
                                  The Motion to Dismiss is adopted in full and incorporated herein.
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                        1     C.       The Motion is Premature.

                        2              As a threshold matter, the Motion should be denied because discovery is this case is in its

                        3     early stages and the Motion is premature. Document discovery is far from complete. HASelect

                        4     has not yet provided responses or produced documents in response to Tecumseh’s request for

                        5     documents, which were served on March 29, 2022, and Tecumseh is continuing to gather and

                        6     produce documents in response to the document request propounded by HASelect. See Hamm

                        7     Decl. at ¶ 4. Multiple subpoenas to third parties in the Debtor’s Chapter 7 case remain

                        8     outstanding, including subpoenas seeking documents and information directly relevant to the

                        9     issues of material fact in this action. Id. at ¶ 5.

                      10               Further, HASelect’s argument rests largely on a one line response from an examination of

                      11      the Debtor’s principal taken pursuant to Bankruptcy Rule 2004, without the benefit of documents

                      12      produced in this adversary or documents still being sought from third parties, and more than a

                      13      month before HASelect’s Amended Complaint in this action was filed. No witnesses have been

                      14      deposed in this action, and depositions would be premature prior to the substantial completion of

                      15      document discovery in any event. Id. at ¶ 6.

                      16               But even if the Court were to consider the substance of HASelect’s arguments, HASelect

                      17      has wholly failed to satisfy its burden on summary judgment because the Motion is dependent

                      18      upon a conclusory inference that the Debtor purchased the Disputed Receivables before

                      19      receiving Tecumseh’s payment for them, while the evidence adduced does not establish that the

                      20      Debtor actually acquired the receivables from the medical providers prior to receiving payment

                      21      from Tecumseh or with its own funds. Rather, as set forth in the Belotz Declaration, the Debtor’s

                      22      internal database of receivables, from which the “Date Paid” information is derived, does not

                      23      accurately reflect the actual date the receivables were purchased. See Belotz Decl., ¶¶ 14, 22-24.

                      24               The financial records and other information from which the actual date of payment from

                      25      the Debtor to the medical providers may be determined has not yet been produced in discovery.

                      26      Such discovery includes documents and information requested pursuant to subpoena issued by

                      27      HASelect to the Debtor’s accounting software company, Xero Inc., for the Debtor’s accounting

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                        1     records,9 Tailor Made Servers, for information regarding the Debtor’s data storage systems and

                        2     alteration or deletion of the debtor’s electronically stored information,10 Nevada State Bank, for

                        3     the Debtor’s banking records including records of payments to medical providers,11 GPMicro,

                        4     Inc., a non-debtor affiliate in possession of the Debtor’s email records,12 and individuals who

                        5     provided information technology services to the Debtor for information relating to the Debtor’s

                        6     records and electronically stored information.13 Accordingly, the Motion is premature and should

                        7     be denied.

                        8                Moreover, none of the parties has had an opportunity to review the Debtor’s

                        9     communications with the parties or with third-parties. These communications are obviously

                      10      relevant to the manner in which the Debtor arranged for the purchase of the Disputed

                      11      Receivables and the existence of the resulting trust. In addition, Hemmers testified to substantial

                      12      communications with HASelect regarding Tecumseh’s purchases of receivables. According to

                      13      Hemmers, these communications reflect HASelect’s knowledge of and acquiescence to

                      14      Tecumseh’s purchases and to HASelect’s deposit of proceeds of receivables to Tecumseh. See

                      15      Hemmers Trans. at 195:24-198:7; 198:8-199:2; 200:3-17; 201:3-12.

                      16                 In the alternative, Tecumseh requests the opportunity to conduct discovery regarding the

                      17      Debtor’s handling and accounting of Tecumseh’s funds and payments made to medical

                      18      providers, the dates on which payments were made to medical providers, communications

                      19      between the Debtor and medical providers regarding the Disputed Receivables and payment for

                      20      the Disputed Receivables, and communications between the Debtor and Hemmers. See Fed. R.

                      21      Civ. P. 56(d) (when a nonmoving party shows by affidavit or declaration that it is unable to

                      22      marshal necessary facts to oppose summary judgment, the court may (1) defer considering the

                      23      motion or deny it; (2) allow time to obtain affidavits or declarations or to take discovery; or (3)

                      24

                      25      9
                                  Case No. 21-14486-abl, ECF No. 207.
                              10
                      26           Id., ECF No. 206.
                              11
                                   Id., ECF No. 142.
                      27      12
                                   Id., ECF No. 161.
                      28      13
                                   Id., ECF No. 193 (subpoena to Robert Land) and ECF No. 204 (subpoena to Kevin Grimes).
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                        1     issue any other appropriate order).

                        2     D.       Debtor Purchased and Held the Receivables for the Benefit of Tecumseh.

                        3              The Debtor holds the Disputed Receivables subject to a purchase money resulting trust in

                        4     favor of Tecumseh, as beneficiary. It is black-letter law that property which a debtor holds

                        5     subject to a resulting trust never becomes part of bankruptcy estate.. In re Torrez, 63 B.R. 751,

                        6     755 (B.A.P. 9th Cir. 1986), aff’d, 827 F.2d 1299 (9th Cir. 1987); see also 11 U.S.C. § 541(d);

                        7     Cage v. Kang (In re Kang), 2013 Bankr. LEXIS 844 (Bankr. S.D. Tex. Mar. 7, 2013).

                        8     Accordingly, the Disputed Receivables are not subject to HASelect’s lien or the Trustee’s strong-

                        9     arm powers.

                      10               There is, at a minimum, a factual question as to the existence of the resulting trust. The

                      11      Debtor did not acquire receivables and then resell them to Tecumseh. Instead, it identified new

                      12      receivables, recommended them to Tecumseh and requested funds with which to purchase them.

                      13      Only after obtaining Tecumseh’s approval and the necessary funds from Tecumseh did the

                      14      Debtor purchase the Disputed Receivables. See Belotz Decl. at ¶¶ 12-15.

                      15               Tecumseh was not buying receivables that the Debtor itself owned, but instead was using

                      16      the Debtor as an intermediary and servicer for Tecumseh. Id. at ¶ 7. Under the Sub-Advisory

                      17      Agreement, the Debtor acted as a purchasing agent, broker and servicer for Tecumseh. The

                      18      purpose of the Debtor’s efforts was to arrange a purchase by Tecumseh “directly from the

                      19      Medical Service Provider.” See Sub-Advisory Agreement at Exh. A, ¶ 3(b); also Hemmers

                      20      Trans. at 185:15-20 (testifying that the purpose of the Sub-Advisory Agreement was to facilitate

                      21      a sale between the medical service providers and Tecumseh).

                      22               The funds paid to purchase the receivables did not come from the Debtor, but from

                      23      Tecumseh. See Belotz Decl. at ¶ 7; Hemmers Trans. at 185:21-186:2. All dollars collected on the

                      24      receivables were paid directly to Tecumseh as the money belonged to Tecumseh and not to the

                      25      Debtor. Id. at 186:18-23. The Debtor conceded that it did not own an interest in the Tecumseh

                      26      Receivables. Id. at 173:18-174:4, 174:15-175:3.

                      27               Where “a transfer of property is made to one person and the purchase price is paid by

                      28      another, a resulting trust arises in favor of the person by whom the purchase price is paid.”
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                        1     Restatement (Third) of Trusts § 9 (2003); see also Hayne Fed. Credit Union v. Bailey, 489 S.E.

                        2     2d 472, 475 (S.C. 1997) (“Equity devised the theory of resulting trust to effectuate the intent of

                        3     the parties in certain situations where one party pays for property, in whole or in part, that for a

                        4     different reason is titled in the name of another.”); Cummings v. Tinkle, 91 Nev. 548, 550, 539

                        5     P.2d 1213, 1214 (1975) (“Where the consideration for the property is provided by one party, but

                        6     title is taken by another, and the circumstances negate the possibility of the consideration being a

                        7     gift, equity will intervene to protect the rights of the first party.”). A resulting trust may likewise

                        8     arise in personalty. McDowell v. S.C. Dept. of Soc. Services, 370 S.E.2d 878 (S.C. App. 1987)

                        9     (food stamp applicant rebutted presumption that automobile, which was titled in both applicant's

                      10      and son's name, but registered only in applicant's name, was gift to son, establishing that

                      11      applicant was trustee of resulting trust that arose in favor of son, and thus, automobile was not

                      12      applicant's asset for purpose of food stamp eligibility).

                      13               The determination of whether a resulting trust exists is thus intrinsically factual in nature.

                      14      A “resulting trust for the payor of the purchase price is recognized only after any relevant

                      15      circumstances, written and oral statements, associated agreements or understandings, and other

                      16      admissible parol evidence have been considered in an effort to ascertain and give effect to any

                      17      discernible, actual intentions of the payor or objectives of the parties.” Id.; see also In re

                      18      Goldstein, 135 B.R. 703, 705 (Bankr. S.D. Fla. 1992) (A “vital element [of a resulting trust] is

                      19      the intention [of the parties] which will be presumed from the facts.”)

                      20               The intent of the parties is clear. The Sub-Advisory Agreement provides that the Debtor

                      21      was to work on Tecumseh’s behalf to assist it in acquiring receivables directly from medical

                      22      providers. See Sub-Advisory Agreement at Exh. A; Hemmers Trans. at 186:9-11 (testifying that

                      23      the Debtor was not buying and reselling). It is a brokering and advisory agreement; not a

                      24      purchase and sale agreement. The Debtor was not to acquire an interest in any of the Disputed

                      25      Receivables and concedes that it did not do so. See Hemmers Trans. at 186:3-8, 12-17.

                      26      Tecumseh’s money and not the Debtor’s was used to buy the Disputed Receivables. Id.; see also

                      27      Belotz Decl. at ¶ 7. Only after obtaining Tecumseh’s approval and the necessary funds from

                      28      Tecumseh did the Debtor purchase the Disputed Receivables. See Belotz Decl. at ¶ 15.
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                        1                The presumption of the resulting trust is, therefore, that the Debtor intended to hold the

                        2     receivables for the benefit of the intended owner, Tecumseh. And while HASelect may rebut this

                        3     presumption it has failed to do so. See Hayne Fed. Credit Union v. Bailey, 489 S.E.2d 472, 475

                        4     (S.C. 1997) (“The presumption [of the resulting trust]…may be rebutted and the actual intention

                        5     shown by parol evidence.”) Instead, HASelect relies upon unproven allegations, namely that the

                        6     Debtor sold to Tecumseh a subset of receivables owned by the Debtor, and, as such, receivables

                        7     in which HASelect held a perfected, first-priority security interest.14 HASelect provides no

                        8     evidence of this other than a reference to a portion of Mr. Hemmers testimony taken out of

                        9     context.15 Such allegations are directly contradicted by the full testimony of Mr. Hemmers, the

                      10      testimony of Mr. Belotz, and records that the Debtor itself sent in connection with each sale.

                      11                 HASelect argues that the Debtor’s records and the purchase orders show that the Debtor

                      12      purchased receivables and then resold them to Tecumseh relying heavily on “date paid” field in

                      13      certain spreadsheets produced at the start of the bankruptcy. The records show no such thing.

                      14      Instead, as discussed at length above, they reflect a process in which the Debtor identified

                      15      receivables for purchase by Tecumseh and negotiated on Tecumseh’s behalf. When it gathered a

                      16      set of receivables for purchase by Tecumseh, the Debtor identified the receivables and requested

                      17      funds from Tecumseh with which to acquire the receivables. Only after Tecumseh approved and

                      18      forwarded funds did the Debtor acquire the receivables for Tecumseh’s benefit.

                      19                 Moreover, HASelect’s reliance on the “date paid” column as definitive proof of the date

                      20      that a receivable was acquired is misplaced. The “date paid” field is at most an unreliable

                      21      indicator of anything, much less the date that the Debtor acquired anything. On a purely

                      22      evidentiary basis, it is based on Hemmers’ very brief testimony (less than a full line) about the

                      23      Debtor’s records generally and not about the records related to the acquisition of Disputed

                      24      Receivables.

                      25                 The records related to the Disputed Receivables tell a very different story. The lists

                      26      underlying the purchase orders included a “date paid” column based on the Debtor’s records. See

                      27      14
                                   Statement of Undisputed Facts at ¶ 14.
                      28      15
                                   See Response to Statement of Undisputed Facts at ¶ 14.
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                        1     Belotz Decl. at ¶ 14. The “Date Paid” column was often blank, sometimes contained dates that

                        2     were months after the date of the list, and sometimes contained dates prior to the date of the list.

                        3     Id. Using Exhibit B (July 13, 2020) as an example, the “Date Paid” column has 25 blanks and 34

                        4     dates ranging from June to November 2020. Id. When asked about the dates, Tecumseh was told

                        5     that the “Date Paid” was taken from the Debtor’s internal database of receivables and did not

                        6     reflect the date that the Debtor had paid for these particular receivables. Id. Hemmers informed

                        7     Tecumseh that past dates reflected the date that the Debtor reached an agreement with the

                        8     provider as to the price of the receivable, and blank dates and November dates were

                        9     placeholders. For the prescription receivables (marked RX on the lists), the “date paid” indicates

                      10      the date that a prescription card was issued; not the date that a receivable related to that card was

                      11      acquired.16 Id. at ¶ 11.

                      12               As a general matter, the Debtor’s records and in particular the “date paid” field, were

                      13      often unreliable. Belotz was charged with reconciling Tecumseh’s records with the Debtor’s

                      14      records. See Belotz Decl. at ¶ 22. To that end, he regularly reviewed the Debtor’s internal

                      15      database of receivables. During the course of his review, he noted that data related to the

                      16      receivables purchased by Tecumseh changed frequently. Frequently, the “Date Paid” field

                      17      remained blank for months at a time. Even after the field was populated, the date often changed.

                      18      Id. The “Date Paid” field typically did not match the actual purchase dates for the receivables

                      19      listed on Exhibits B through K. Id. The “date paid” field is just not a reliable indicator of the date

                      20      of acquisition or anything else. Id. at ¶¶ 22-24.

                      21               Finally, HASelect attempts to stretch Hemmers’ testimony well beyond its context.

                      22      Tecumseh acknowledges that it made one purchase of receivables previously owned by the

                      23      Debtor. See Belotz Decl. at ¶ 19. In June 2020, Tecumseh purchased the receivables shown on

                      24      Exhibit M to the Belotz Declaration. Id. HASelect extrapolates Hemmers’ testimony related to

                      25      this single transaction in June 2020 to all transactions involving the Debtor and Tecumseh to

                      26      create the misleading impression that the Debtor routinely purchased and then resold receivables

                      27
                              16
                                Allowing the parties sufficient time to take discovery would flesh out these issues and provide the Court with a
                      28      sufficient evidentiary record.
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                        1     to Tecumseh. This June 2020 transaction was a “one off” transaction and not typical of

                        2     Tecumseh’s purchases. Hemmers Trans. at 187:14-19; Belotz Decl. at ¶ 19.

                        3              Contrary to HASelect’s assertions, the records related to the one-off June 2020

                        4     transaction actually demonstrate that the Debtor had not acquired the Disputed Receivables itself

                        5     before Tecumseh acquired them. An important difference between Exhibit M and Exhibits B

                        6     through K is that Exhibit M identifies the wires and checks by which the Debtor paid for the

                        7     receivables identified on Exhibit M. There is no such information on Exhibits B through K. Id.

                        8              The Debtor holds the Disputed Receivables subject to a purchase money resulting trust in

                        9     favor of Tecumseh, as beneficiary. It is black-letter law that property which a debtor holds

                      10      subject to a resulting trust never becomes part of bankruptcy estate. See 11 U.S.C. § 541(d); see

                      11      also In re Torrez, 63 B.R. 751, 755 (B.A.P. 9th Cir. 1986), aff’d, 827 F.2d 1299 (9th Cir. 1987)

                      12      (property held at all times in a resulting trust is not part of the estate); In re Golden Triangle

                      13      Capital, Inc., 171 B.R. 79 (Bankr. App. 9th Cir. 1994) (A “transaction that has failed to carry out

                      14      the parties' intent becomes a resulting trust, and a resulting trust cannot be part of the debtor's

                      15      estate.”) Assets held in trust are not subject to the trustee’s (here the Debtor’s) creditors, whether

                      16      they be secured or unsecured. See In re Anchorage Nautical Tours, Inc., 102 B.R. 741 (9th Cir.

                      17      BAP 1989) (in which prepetition oral assignment of insurance proceeds effective against

                      18      subsequent lienholders and bankruptcy estate). Accordingly, the Disputed Receivables are not

                      19      subject to HASelect’s lien.

                      20               Nor are they subject to the Trustee’s strong-arm powers found in Section 543. As the

                      21      Bankruptcy Appellate Panel in In re Golden Triangle Capital, explained:

                      22               Determination of whether bankruptcy's policy of ratable distribution outweighs
                                       imposition of a trust depends on whether the trust arises out of intended
                      23               ownership rights in the property [resulting trust] or whether it is to be imposed as
                                       a remedy to correct a wrong [constructive trust]. Analysis focuses on the legal
                      24               relationship between the parties. If no debtor-creditor relationship exists, a trust
                                       will exclude property from the estate. If, on the other hand, the trust is imposed as
                      25               a remedy for a claim, circumstances may warrant treating the claimant as any
                      26               other creditor of the debtor, and thus subject to the policy of ratable distribution.
                                       This is the result in In re Tleel, 876 F.2d 769 (9th Cir. 1989) (inchoate trust
                      27               remedy not superior to trustee's strong-arm power) . . .

                      28      In re Golden Triangle Capital, Inc., 171 B.R. at 82. Tecumseh and the Debtor had a contractual
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                        1     relationship whereby the Debtor was to act as a purchasing agent or broker for Tecumseh and to

                        2     service the receivables that Tecumseh acquired. Belotz Decl. at ¶ 7. Tecumseh—unlike

                        3     HASelect— is not a creditor of the Debtor. Furthermore, allowing HASelect to utilize the strong

                        4     arm powers of Section 543 will certainly not a effectuate a ratable distribution, as avoidance

                        5     under these circumstances would serve to benefit only HASelect.

                        6     E.       HASelect is not entitled to summary judgment on the June 2020 one-off transaction.

                        7              Although the one-off June 2020 transaction involved receivables on which HASelect had

                        8     a lien, HASelect is not entitled to summary judgment. There is some evidence that HASelect

                        9     consented to the sale of these receivables free of its lien in order to obtain funds from the Debtor.

                      10      As such, Tecumseh took the receivables free of the lien. NRS § 104.9315 (1)(a)(providing that a

                      11      security interest continues through sale “unless the secured party authorized the disposition free

                      12      of the security interest”). At the time of the purchase, Hemmers informed Tecumseh that

                      13      HASelect had consented to the sale so that it could be paid the $294,000 that Tecumseh was

                      14      paying for the receivables in partial repayment of HASelect’s loan. Belotz Decl. at ¶ 19; also

                      15      Hemmers Trans. Vol II at 200:3-17 (testifying that he believed that HASelect was aware of the

                      16      June 2020 sale) and at 195:24-198:7 (testifying that HASelect had knowledge of the business

                      17      relationship between the Debtor and Tecumseh and authorized the payments to Tecumseh from

                      18      funds received by the Debtor).17

                      19               For purposes of the June 2020 one-off sale, Tecumseh’s purchase automatically perfected

                      20      without the necessity of it filing a UCC-1. This sale was of a very small portion of the

                      21      receivables that the Debtor owned. The June 2020 purchase was for $294,000. It represented one

                      22      set of receivables that the Debtor held for an attempted draw on the HASelect facility. See

                      23      Hemmers Trans. at 186:24-187:10. By that time, the Debtor had borrowed at least $11 million

                      24      from HASelect supported by receivables it owned. As of the petition date, the Debtor held

                      25

                      26      17
                                 This is another area in which discovery is needed in order to allow Tecumseh access to evidence. Hemmers
                              testified that much of his communications with HASelect on Tecumseh’s receivable purchases were by e-mail.
                      27      Hemmers Trans. at 198:8-199:2 and 201:3-12. All of the Debtor’s e-mail is located at a non-debtor affiliate, GP
                              Micro, from whom the parties have been attempting to obtain records. Id. at 199:3–200:2. For its part, HASelect has
                      28      not produced any documents.
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                        1     receivables with a cost value of $5.78 million. See id. at 173:18-174:14 (testifying regarding the

                        2     Debtor’s schedules). The June 2020 purchase represents approximately 2.7% of the $11 million

                        3     purchased under the HASelect facility and about 5% of the $5.78 million in receivables that the

                        4     Debtor held at the petition date.

                        5              For purchases of receivables that comprise less than a significant part of an assignor’s

                        6     accounts receivable, the purchaser’s interest is automatically perfected without the necessity of

                        7     filing. NRS § 104.9309(2). Courts in the Ninth Circuit use the “percentage of accounts” test. See

                        8     In re Vigil Bros. Const., Inc., 181 B.R. 453, 456-57 (Bankr. D. Ariz. 1995) (examining various

                        9     tests and selecting percentage test based on statutory language). As a general matter, assignments

                      10      of accounts comprising less than 16% of the assignor’s accounts receivable are not significant.

                      11      Standard Lumber Co. v. Chamber Frames, Inc., 317 F.Supp. 837, 840 (E.D. Ark. 1970) cited in

                      12      Concrete Equip. Co. v. Fox (In re Vigil Bros. Const.), 193 B.R. 513, 518 (9th B.A.P. 1996). Here

                      13      the percentage is between 2.7% and 5% making the June 2020 purchase safely insignificant.

                      14                                           IV. CONCLUSION

                      15               HASelect’s Motion should be denied. First, this Court should determine whether it has

                      16      jurisdiction over this case before considering the substance of the dispute. Second, the Motion,

                      17      which was offered before any substantial discovery has taken place and while numerous

                      18      discovery requests remain open, is premature. Third, HASelect has failed to establish that no

                      19      issues of material fact exist. Instead, there are at the very least fact issues regarding Tecumseh’s

                      20      purchases of the Disputed Receivables, the existence of a resulting trust precluding the

                      21      attachment of HASelect’s lien and the Trustee’s strong-arm powers, HASelect’s consent to the

                      22      June 2020 sale and whether that sale was perfected by operation of law – all of which require

                      23      that the Court deny this motion.

                      24               Accordingly, Tecumseh respectfully requests that the Court deny the Motion in its

                      25      entirety.

                      26      ...

                      27      ...

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                        1                 Dated April 28, 2022.

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